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FOR THE MIDDLE DISTRICT OF TENNESSEE Oh Te ae 9

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Magistrate Judge

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Mr Joshua A Graves
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VSITED STATES DISTRICT COURT MIDDLE DISTRICT OF TENNESSEE
NASHVILLE DIVISION

De. Regina Jordan-Sodigq, Plaintiff, v. State of Tennessee, et al., Defendants.

Case No. 3:25-CV-00288 Judge Ili Richardson Jury Demand

PLAINTIFICS RESPONSE TO NAVY FEDERAL CREDIT UNIOGN’S MOTION TO
DISMISS

introduction Plaintiff, Dr. Regina Jordan-Sodiq, respectfully submits this response opposing
Defendant Navy Federal Credit Union's ("Navy") Motion to Dismiss. Plaintiff addresses each of
Navy’s contentions systematically to demonstrate the sufficiency of her claims, the
appropriateness of the court’s jurisdiction, and the adequacy of her service of process. Plaintiff
further objects to Navy’s request for dismissal with prejudice, which is unwarranted under
both law and equity. Plaintiff respectfully requests this Honorable Court deny Defendant’s
motion,

t. Service of Process

Plaintiff asserts that service was properly executed in compliance with Tenn. R. Civ. P. 4.032); oF
and 4.04(4). Plaintiff served process to Navy Federal Credit Union’s registered agent in Ue Paap
Tennessee, The Corporation Service Company, located at-2000 West-10¢h-Street; Suite 1006; Spe
Scnoxville;“EN-3781 7. Evidence of service, including the signed return receipt and proof of ( at 403
mailing, will be presented to the Court. Defendant’s allegations regarding service lack merit and ‘>¥ 0 ‘Ne [n

Should this Honorable Court find any procedural deficiencies in service, Plaintiff respectfully
requests leave to correct such deficiencies pursuant to Fed. R. Civ. P. Rule 4(m), which permits
time to cure errors in service.

i. Specificity na Claims

Contrary to Navy’s assertions, Plaintiffs Complaint provides sufficient factual allegations to
state a claim against Navy. The Complaint specifically identifies Navy’s role in acts of
harassment and covert gang stalking that caused harm to Plaintiff. Plaintiff provides factual
specificity, distinguishing Navy’s actions from other defendants.

Plaintiff's allegations comply with Tenn. R. Civ. P. 8.01, requiring a “short and plain statement
of the claim showing that the pleader is entitled to relief.” Furthermore, Tennessee courts

recognize the need for leniency in construing pro se pleadings to ensure access to justice (Steele
v. Bradley, 684 S.W.2d 375, Tenn. App. 1984).

ll. Legal Basis for Claims

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Defendant argues that Tenn. Code Ann, §39-17-308 and §39-17-315 do not provide private
rights of action. Plaintiff counters that while these statutes are criminal in nature, the conduct
described—-harassment and stalkinge—provides grounds for related civil claims under tort law,
such as intentional infliction of emotional distress (LED) and invasion of privacy. Plaintiff
reserves the right to pursue additional claims addressing the harmful and unlawful actions of
Navy.

Moreover, Plaintiff notes that Navy’s conduct falls under actionable civil claims, and further
discovery will substantiate these allegations.

IV. Conspiracy Allegations

Defendant contends that Plaintiff's conspiracy allegations lack particularity. Plaintiff clarifies
that under Tennessee law, a conspiracy claim requires:

|. Common Design: An agreement among defendants to engage in harassment and
tatimidation,

2. Coneerted Actions: Coordinated activities by Navy and others to achieve unlawful
objectives.

3, Overt Acts: Specific actions taken in furtherance of the conspiracy, including harassment
directed at Plaintiff.

4. Resulting Injury: Tangible and emotional harm suffered by Plaintiff as a result of the
conspiracy.

Plaintiffs Complaint satisfies these elements. Moreover, pro se litigants are entitled to leniency
in pleadings, and Plaintiff seeks discovery to further substantiate these claims.

V. Response to Request for Dismissal With Prejudice

Defendant’s request for dismissal with prejudice is unjustified, Dismissal with prejudice is a
severe remedy reserved for cases where amendment or correction would be futile. Plaintiff
contends her claims are legally and factually viable, and any deficiencies—if found—can be
addressed through amendment or clarification.

Plaintiff respectfully requests this Honorable Court deny Defendant’s request for dismissal with
prejudice and allow Plaintiff to proceed to discovery or grant leave to amend if necessary.
Dismissal without prejudice would be the appropriate remedy if any corrections are required,

VIL Requested Relief

Plaintiffs requested relief is directly tied to the damages incurred as a result of Defendant’s
conduct, including:

e Compensatory damages for financial loss resulting from unauthorized transactions.

¢ Emotional distress and harm caused by harassment and covert gang, stalking.
e Other tangible losses related to Defendant’s actions.

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Plaintiff respectfully requests this Honorable Court uphold her right to seek appropriate relief for
the harm suffered.

Conclusion For the foregoing reasons, Plaintiff respectfully requests that this Honorable Court
deny Navy Federal Credit Union’s Motion to Dismiss, including Defendant’s request for
dismissal with prejudice, and allow this case to proceed.

Certificate of Service | certify that on this 3% day of April 2025, a true and correct copy of the
foregoing Response to Navy Federal Credit Union’s Motion to Dismiss was served via[U.S.
Mail/Electronic Service confirmation receipt to the following parties:

Katherine R. Rogers Burr & Forman, LLP 222 2nd Avenue South, Suite 2000 Nashville, TN
37201 krogers@burr.com

Affidavit of Service 1, Dr. Regina Jordan-Sodiq, do hereby affirm that the Complaint and

Summons were properly served on Navy Federal Credit Union via their registered agent, The

Cor pora ation Ser vice Company, located at 2008-West 10th Street, Suite 1000, Knoxville 1.

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Dr. Regina Jordan- -Sodia, Pe © se Date:

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Respectfully submitted,

Dr. Regina Jordan-Sodigq, Pro se Plaintiff
1757 Autwnnwood Bivd., Clarksville, TN 37042

STATE OF TENNESSEE
COUNTY OF MONTGOMERY

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You are hereby summoned to defend a civil action filed against you in Circuit Court, Montgomery County; Tent Ss 36. Hust be made
within thirty 30) days from the date this summons is served upon you. You are directed to file your defense with the clerk of the court and send a
capy fo the plaintiff's attorney at the address listed below. if you fail to defend this action, judgment by default may be rendered against you for the
relief sought in the coraplaint.

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* Ww endy Dayis, CfErK7 Deputy Clerk
Attorney for Plaintiff ~ S/S

NOTICE OF PERSONAL PROPERTY EXEMPTION

TO THE DEFENDANT(S): Tennessee law provides a ten thousand dollar ($10,000) personal property exemption as well as a homestead exemption
from execution or seizure to satisfy a judgment. The amount of the homestead exemption depends upon your age and the other factors which are
listed in TCA § 26-2-301, If a judgment should be entered against you in this action and you wish to claim property as exempt, you must file a
written list, under oath, of the items you wish to claim as exempt with the clerk of the court. The list may be filed at any time and may be changed by
you thereafter as necessary; however, unless it is filed before the judgment becomes final, it will not be effective as to any execution or garnishment
issued prior to the filing of the list. Certain items are automatically exempt by law and do not need to be listed; these include items of necessary
wearing apparel (clothing) for your self and your family and trunks of other receptacles necessary to contain such apparel, family portraits, the family
Bible, and school books. Should any of these items be seized you would have the right to recover them. If you do not understand your exemption
right or how to cxercise it, you may wish to seek the counsel of a lawyer. Please state case nuenber on list.

CERTIFICATION GF APPLICABLE)

1, Wendy Davis, Circull Court Clerk of Montgomery County, Tennessce, do certify this to be a truc and correct copy of the original summons issued
in this case.

Date:

Wendy Davis, Clerk / Deputy Clerk

SERVICE RETURN: Please execute this summons and make your return within nincty days of issuance as provided by law.

i certify that { have served this summons and complaint as follows: _

I certify that I was unable to serve the summons and complaint because:

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IN THE CIRCUIT COURT FOR MONTGOMERY COUNTY, TENNESSEE 2,

DR. REGINA JORDAN-SODIOQ, Plaintiff, v. STATE OF TENNESSER, et al., Defendants.
Case No.: CC-25-CY-170

PLAINTIFE’S RESPONSE TO DEFENDANT NAVY FEDERAL CREDIT UNION’S
MOTION TO DISMISS

Introduction

Dr. Regina Jordan-Sodiq (“Plaintiff”) respectfully submits this response opposing Defendant
Navy Federal Credit Union’s (“Navy”) Motion to Dismiss. Plaintiff asserts that Defendant’s
motion lacks merit and fails to meet the standards required for dismissal under the Tennessee
Rules of Civil Procedure. Plaintiffs Complaint provides sufficient legal and factual grounds to
proceed. Therefore, Plaintiff respectfully requests this Honorable Court deny Defendant’s
motion.

Factual Background

From 2023 to the present, Plaintiff has experienced a series of harmful and distressing actions
connected to Defendant Navy Federal Credit Union and its employees, including:

1. Unauthorized Transactions: Plaintiff discovered repeated unauthorized withdrawals
from her account. Despite promptly notifying Navy, Defendant failed to prevent further
unauthorized charges, resulting in significant financial losses and forcing Plaintiff to
close her credit card to safeguard her finances.

2. Harassment at the Bank, During an in-person visit to address unauthorized transactions,
Navy employees behaved inappropriately. One employee discussed "pulling weeds" with
another customer, an apparent mocking reference made in Plaintiff's presence after
Plaintiff requested a manager. This created a hostile and uncomfortable environment.

3. Community Harassment and Retaliatory Actions: On March 11, 2025, Plaintiff
observed teenagers distributing brochures in her neighborhood. One such brochure,
handed to Plaintiffs son, contained imagery resembling a personal self-help book
Plaintiff was developing. The brochyre included the caption “weed man for the win,”

which Plaintiff believes was a deliberate attempt to mock her. Notably, the timing
coincided with Defendant filing their Motion to Dismiss, suggesting a coordinated effort
to intimidate Plaintiff,

4. Condescending and Dismissive Conduct: Plaintiff experienced dismissive remarks
from Navy employees while addressing her concerns, further exacerbating 3 emotional
distress and reinforcing a hostile pattern of behavior.

These incidents have caused significant emotional distress, financial harm, and reputational

damage to Plaintiff. Plaintiff contends that these actions are part of a broader pattern of
harassment designed to intimidate and discredit her.

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I. Plaintiffs Complaint Satisfies Rule 8.01 Requirements

Plaintiff's Complaint complies with Tennessee Rule of Civil Procedure 8.01, requiring a “short
and plain statement of the claim showing that the pleader is entitlement to r lief.”

e The Complaint specifically identifies Defendant Navy as responsible for Plaintiffs harm.

° Tennessee courts recognize the need for leniency in construing pro se litigants’ pleadings
to ensure access to justice (Sieele v. Bradley, 684 S.W.2d 375, Tenn. App. 1984).

e  Plaintiff’s allegations provide sufficient notice, with further details to emerge during
discovery.

I. Plaintilf?s Allegations Address Statutory Violations

Defendant mistakenly argues that Plaintiff’s reliance on criminal statutes (e.g., T.C.A. §39-17-
308 harassment and §39-17-315 s/alking) is improper. While these statutes are criminal in
nature:

1. Plaintiff describes behavior consistent with statutory violations, evidencing intentional
and harmful conduct.

2. Plaintiff reserves the right to pursue related civil or federal claims addressing these
wrongful actions.

Tennessee courts permit broad discretion in interpreting pro se litigants, warranting discovery to
substantiate Plaintiff's allegations. Plaintiff respectfully requests the opportunity to amend the
Complaint if necessary to ensure justice is served.

Hi, Plaintiffs Conspiracy Allegations are Well-Pleaded

Defendant claims Plaintiffs conspiracy allegations lack particularity. However, under Tennessee
law, a conspiracy claim requires:

1. A common design between parties.

2. Concerted actions to achieve an unlawful goal or lawful goal through unlawful means.

3. An overt act in furtherance of the conspiracy.

4. Resulting injury to Plaintiff (Kincaid y. South Trust Bank, 221 S.W.3d 32, Tenn. Ct. App.

2006).

Plaintiff asserts coordinated efforts by Defendant and others to harass and deny Plaintiff due
process. The allegations meet pleading standards and warrant further examination in discovery.

TV. Plaintiff's Requested Relief is Justified
Plaintiffs requested relief directly corresponds to the harm caused, including:

e Financial damage resulting from unauthorized transactions.
° Emotional distress and harm caused by harassment.

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e Reputational, professional, and personal setbacks resulting from Defendant’s actions.
Tennessee law empowers courts to tailor damages to address harm experienced by Plaintiffs.
V. Leniency for Pro Se Litigants and Request for Amendment

As a pro se litigant, Plaintiff respectfully invokes the principle of leniency afforded to self-
represented individuals in Tennessee courts. Plaintiff also requests leave to amend the Complaint
under Tennessee Role of Civil Procedure 15.01, should the Court identify any deficiencies, to
ensure justice is served.

Conclusion

For these reasons, Plaintiff respectfully requests that this Honorable Court deny Defendant Navy
Federal Credit Union’s Motion to Dismiss, allowing the case to proceed to discovery.

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1757 Autumnwood Blvd. Clarksville, TN 37042
Pro Se Plaintiff

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CERTIFICATE OF SERVICE
i, Dr. Regina Jordan-Sodiq, hereby certify that on this 13th day of March, 2025, a true and
correct copy of the foregoing Plaintiffs Response to Defendant Navy Feder al Credit Union’s

Motien to Dismiss was served via e-mail and/or U.S. Mail, first-class postage pre-paid, upon:

Katherine R. Rogers Burr & Forman LLP 222 2nd Avenue South, Suite 2000 Nashville, TN
37201 krogers@burr.com

Angela Beasley Legal Practice Assistant Burr & Forman LLP 222 2nd Avenue South, Suite
2000 Nashville, TN 37201 abeasley@burr.com

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March 13, 2025

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AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

Middle District of Tennessee at N

Dr. Regina Jordan-Sodiq, )
)
)
)
Plaintiffs) )
v. Civil Action No, 3:25-cv-00288 Judge Eli Richardson
State of Tennessee, et.al., and Navy Federal Credit )
Union )
)
)
Defendant(s) }

SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Navy Federal Cr Service Company (Registered Agent)

265 Brookview Centre Way
Suite 203
Knoxville, TN 37919

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

If you fail to respond, judgment by defauit will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

fi)

Signature of Clerk or Deputy Choy

1 ete

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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 3:25-cv-00288 Judge Eli Richardson

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ()

This summons for (ame of individual and title, if any)

was received by me on (date)

Pl I personally served the summons on the individual at (place)

on (date) ,or

(I Tleft the summons at the individual’s residence or usual place of abode with (ame)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

TF LT served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) 5 or

(I Lreturned the summons unexecuted because :or

Ther wsF moked OSES ConGmodion Ce cai py ord
armel, “To dhe Diternwy ¢ ck Dow 1G

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this co is truc.

Dat df fos tH). — OO

Vv 'S Signature

Wee soa Norden echo

Printed name and fitle

Server's address

Additional information regarding attempted service, etc:

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